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                         Exhibit 9
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    DEFENDING THE RULE OF LAW   LEGISLATION & POLICY   ISSUE


    Using OMB’s Apportionment Website: Resources for Congress
    NOVEMBER 3, 2022   SHARE




               Apportionments are legally binding plans that the Office of Management and Budget (OMB) uses to make appropriated funds
               available to federal agencies.
               Apportionments set limits—beyond those in appropriations and authorization legislation—on how and when an agency may spend
               funds, what an agency may spend funds on, and any conditions an agency must meet before spending funds. In short, these
               documents help explain when and where money goes after Congress appropriates it.
               In the FY2022 omnibus, for the first time, lawmakers required OMB to disclose apportionments to Congress and the public. In July
               2022, OMB met that requirement, unveiling a public apportionment website: https://apportionment-public.max.gov/.
               This page provides a suite of resources to ensure members of Congress and staff have the information they need to take full
               advantage of their access to this website—from a recorded training on how to read apportionments and use OMB’s website and
               the associated slide deck to an overview of relevant statutory requirements and a compilation of related educational resources.


               Apportionment Resources for Congress

               How to Read Apportionments and Use OMB’s Website: A Video Training
               In October 2022, three experts in budget and appropriations law led a training for congressional staff on how to read
               apportionments, navigate and use OMB’s website, and find the apportionments associated with a particular appropriation or
               Treasury account.
               You can find a recording of their presentation here and below:


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                         Experts Explain How to Read Apportionments and Navigate OMB's New Apportionment Website




               And you can find their slide deck here. (In light of the animations on the slides, it’s best to view them in “Slideshow” mode in
               Google Slides or to download them and view them as a slideshow in Microsoft PowerPoint.)
               The following experts led the training:
                   Lester Cash recently retired after serving as the deputy director of the Department of Health and Human Services’s (HHS)
                   Office of Budget for 15 years. He was responsible for HHS’s apportionment requests from 2009 to 2021. Mr. Cash served in
                   HHS’s Office of Budget for 25 years, at OMB for 10 years, and at the Census Bureau for 3 years.
                   Ed Martin worked for over 30 years on the budget execution of HHS programs. He spent an additional 10 years as an
                   independent contractor developing and providing training on budget execution and appropriations law for HHS. Mr. Martin
                   retired in 2018.
                   Charlotte (Charlie) McKiver is an Assistant General Counsel in GAO’s Appropriations Law Group. Before joining GAO, she
                   served as an Assistant General Counsel in OMB’s Office of General Counsel and as a fiscal law analyst in HHS’s Office of Budget.
               The training was sponsored by Protect Democracy, American Action Forum, Demand Progress, FreedomWorks, National Taxpayers
               Union, Project on Government Oversight, R Street Institute, and Taxpayers for Common Sense.


               Key Terms Defined
               In 2005, the Government Accountability Office published A Glossary of Terms Used in the Federal Budget Process. Please consult
               the Glossary for a comprehensive list of key terms and definitions in budget and appropriations law. A handful of terms and
               definitions relevant to apportionments are highlighted below. These definitions are taken from the Glossary, OMB Circular No. A-
               11, the Treasury Department’s FAST Book, and the Oct. 13 apportionment training. Each entry is hyperlinked to the source
               providing the definition.
               Antideficiency Act – the federal law that:
                   prohibits the making of expenditures or the incurring of obligations in advance of an appropriation;
                   prohibits the incurring of obligations or the making of expenditures in excess of amounts available in appropriation or fund
                   accounts unless specifically authorized by law (31 U.S.C. § 1341(a));
                   requires the Office of Management and Budget (OMB), via delegation from the President, to apportion appropriated funds and
                   other budgetary resources for all executive branch agencies (31 U.S.C. § 1512);
                   requires a system of administrative controls within each agency (see 31 U.S.C. § 1514 for the administrative divisions
                   established);
                   prohibits incurring any obligation or making any expenditure in excess of an apportionment or reapportionment or in excess of
                   other subdivisions established pursuant to sections 1513 and 1514 of title 31 of the United States Code (31 U.S.C. § 1517); and
                   specifies penalties for deficiencies.

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               Apportionment – a legally binding plan approved by OMB that makes budgetary resources available to a federal agency.
               Apportionments set limits—beyond those in appropriations and authorization legislation—on how and when an agency may spend
               funds, what an agency may spend funds on, and any conditions an agency must meet before spending funds.
                   Reapportionment – a revision of a previous apportionment of budgetary resources for an appropriation or fund account. OMB
                   reapportions just as it apportions. Agencies usually submit requests for reapportionment to OMB as soon as a change becomes
                   necessary due to changes in amounts available, program requirements, or cost factors.
               Appropriation – a provision of law authorizing the expenditure of funds for a given purpose.
               Appropriation Account – The basic unit of an appropriation generally reflecting each unnumbered paragraph in an appropriation
               act.
               A-11 (OMB Circular No. A-11) – the OMB manual that offers detailed guidance to federal agencies on budget preparation,
               submission, and execution.
               Budgetary Resources – amounts available to enter into new obligations and liquidate them. Budgetary resources are made up of
               unobligated balances provided in previous years and new budget authority.
               New Budget Authority – New budget authority is made up of:
                   Appropriations
                   Borrowing authority – a type of budget authority that permits obligations and outlays to be financed by borrowing.
                   Contract authority – a type of budget authority that permits you to incur obligations in advance of an appropriation, offsetting
                   collections, or receipts to make outlays to liquidate the obligations.
                   Spending authority from offsetting collections – collections authorized by law to be credited to appropriation or fund
                   expenditure accounts.
               Deferral of Budget Authority – temporary withholding or delaying of the obligation or expenditure of budget authority or any
               other type of executive action, which effectively precludes the obligation or expenditure of budget authority. A deferral is one type
               of impoundment. Under the Impoundment Control Act of 1974 (2 U.S.C. § 684), budget authority may only be deferred to provide
               for contingencies, to achieve savings or greater efficiency in the operations of the government, or as otherwise specifically
               provided by law. Budget authority may not be deferred for policy or any other reason.
               The Federal Account Symbols and Titles (FAST) Book – the Treasury Department manual listing appropriation and other fund
               account symbols and titles. Identifying the Treasury Appropriation Fund Symbol (or TAFS)—a numerical identifier—associated with
               an appropriation account is the first step in the process of finding the corresponding apportionment. On OMB’s apportionment
               website, the TAFS is an essential component of the file name identifying an apportionment.
               Obligation – a definite commitment that creates a legal liability of the government for the payment of goods and services ordered
               or received, or a legal duty on the part of the United States that could mature into a legal liability by virtue of actions on the part of
               the other party beyond the control of the United States. Payment may be made immediately or in the future. An agency incurs an
               obligation, for example, when it places an order, signs a contract, awards a grant, purchases a service, or takes other actions that
               require the government to make payments to the public or from one government account to another.
               Outlay – the issuance of checks, disbursement of cash, or electronic transfer of funds made to liquidate a federal obligation.
               Outlays also occur when interest on the Treasury debt held by the public accrues and when the government issues bonds, notes,
               debentures, monetary credits, or other cash-equivalent instruments in order to liquidate obligations.
               Reprogramming – shifting funds within an appropriation or fund account to use them for purposes other than those
               contemplated at the time of appropriation; it is the shifting of funds from one object class to another within an appropriation or
               from one program activity to another. While a transfer of funds involves shifting funds from one account to another,
               reprogramming involves shifting funds within an account.
               Rescission – Legislation enacted by Congress that cancels the availability of budget authority previously enacted before the
               authority would otherwise expire. The Impoundment Control Act of 1974 (2 U.S.C. § 683) provides for the President to propose
               rescissions whenever the President determines that all or part of any budget authority will not be needed to carry out the full
               objectives or scope of programs for which the authority was provided. Rescissions of budget authority may be proposed for fiscal
               policy or other reasons. All funds proposed for rescission must be reported to Congress in a special message.
               SF (Standard Form) 132 – the standard apportionment form.
               SF133 – the report on budget execution and budgetary resources. SF133 reports can be accessed here.


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               Treasury Appropriation Fund Symbol (TAFS) – the numerical identifier associated with an appropriation account. A TAFS has three
               elements: a three-digit federal agency ID, a four-digit appropriation account ID, and an availability code. An availability code
               specifies whether the appropriation is available for one year, multiple years, or has no time limit, known as a “no-year” account.
                   For example, the TAFS for the Health Care Systems appropriation account is 075 0357. “075” identifies the agency—in this
                   case, the Department of Health and Human Services. “0357” identifies Health Care Systems as an account in the Health
                   Resources and Services Administration.
                   On OMB’s apportionment website, one sees several entries for account 0357 (the availability code is bolded):
                      An annual account (075-2022-2022-0357)
                      A multi-year account (075-2020-2022-0357)
                      A no-year account (075-X-0357)



               Finding the Right Apportionment: Instructions from Start to Finish
               To use OMB’s public apportionment website, you must know how to find the apportionment associated with a particular
               appropriation or Treasury account. For a step-by-step guide to finding the right apportionment, consult slides 16-30 from the Oct.
               13 apportionment training presentation (which feature relevant screenshots and other visual aids) or follow the identical written
               guidance below.
                   Apportionments are done at the account level. Thus, to find the apportionment(s) you’re looking for, begin by identifying the
                   Treasury Appropriation Fund Symbol (or TAFS) associated with the relevant appropriation account.
                   Suppose we want to find the apportionments associated with the “Health Care Systems” appropriation in the Consolidated
                   Appropriations Act of 2022. (Click the hyperlinked text to follow along.) That appropriation is for the Department of Health and
                   Human Services (HHS).
                   Read the appropriations language closely: “For carrying out titles III and XII of the PHS Act with respect to health care systems,
                   and the Stem Cell Therapeutic and Research Act of 2005, $133,093,000, of which $122,000 shall be available until expended
                   for facilities-related expenses of the National Hansen’s Disease Program.”
                   The “Health Care Systems” appropriation is an unnumbered paragraph heading in the Consolidated Appropriations Act of
                   2022. It denotes an account set up in the Treasury called “Health Care Systems.” To find the TAFS associated with the “Health
                   Care Systems Account,” consult the Treasury Department’s Federal Account Symbols and Titles (FAST) Book.
                   Search for the “Health Care Systems” account. This takes us to a line in the FAST Book (click the link to follow along) with a
                   numerical identifier code: 075 0357. “075” identifies HHS as the agency. “0357” identifies Health Care Systems as an account
                   in the Health Resources and Services Administration (HRSA).
                   Now that we have the TAFS 075 0357, go to OMB’s public apportionment website: https://apportionment-public.max.gov/.
                   Select the appropriate fiscal year. In this case, it is Fiscal Year 2022.
                   Select the appropriate department. In this case, it is HHS.
                   Select “Excel” as the file format you would like to peruse. This will bring you to a dropdown list of numerous apportionments.
                   Note the components of an apportionment file name (e.g. FY2022_Agency=HHS_Bureau=HRSA_TAFS=075-2020-2022-
                   0357_Iteration=1_2021-08-25-18.17.xlsx):
                   1. Fiscal year (an apportionment lasts only one year regardless of the period of availability)
                   2. Federal agency and bureau
                   3. TAFS
                   4. Iteration
                   5. Approval date and time
                   Search (Control+F or Command+F) for the four-digit account ID part of the TAFS. In this case, that is 0357. That search will
                   result in four hits:
                   1. A multi-year account (075-2020-2022-0357)
                   2. Two no-year accounts (075-X-0357); iterations 1 and 2
                   3. An annual account (75-2022-2022-0357)
                   Examine the apportionments you have found that are associated with the appropriation account relevant to your work.


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               The Antideficiency Act and Apportionments: A Compilation of Relevant Sections
               Congress created the apportionment power in the Antideficiency Act to ensure federal agencies spend within the limits of the law.
               Authorizing an obligation or expenditure in excess of the apportioned amount is a violation of the Antideficiency Act and may
               result in administrative or criminal penalties. The Antideficiency Act sections relevant to apportionments are copied below and
               can be found here.
               31 U.S.C. § 1511: What is apportioned?
               31 U.S.C. § 1512: How should amounts be apportioned?
               31 U.S.C. § 1513: Who controls apportionments? When must apportionments be approved?
               31 U.S.C. § 1514: What are the requirements for a funds control system?
               31 U.S.C. § 1515: When can deficiency apportionments be requested? When can they be approved?
               31 U.S.C. § 1516: Which appropriations are exempt from apportionment?
               31 U.S.C. § 1517: What happens if an agency obligates or expends in excess of an apportionment?
               31 U.S.C. § 1518: What are the administrative penalties for exceeding an apportionment or administrative subdivision of funds?
               31 U.S.C. § 1519: What are the criminal penalties for exceeding an apportionment or administrative subdivision of funds?


               OMB Resources on Apportionments
               OMB Circular No. A-11 is the manual behind the federal budget, offering guidance to agencies on budget preparation, submission,
               and execution. Sections 120, 123, 124 of A-11 concern apportionments.
                   Section 120 covers the apportionment process.
                   Section 123 covers apportionments under continuing resolutions.
                   Section 124 covers agency operations in the absence of appropriations.
                   Appendix F covers the format of the Standard Form (SF) 132 (the apportionment form) and SF 133 (the report on budget
                   execution and budgetary resources).
               OMB updates the Circular annually, and one may find the most up-to-date version here:
               https://www.whitehouse.gov/omb/information-for-agencies/circulars/.
               OMB publicly posts apportionments here: https://apportionment-public.max.gov/.
               OMB also publishes SF133 reports—that is, reports on budget execution and budgetary resources—here.


               Additional Video Explainers
               While working as an independent contractor for the Department of Health and Human Services after a lengthy career in
               government service, Ed Martin created an array of videos explaining the ins and outs of budget execution and appropriations law.
               These videos provide an accessible and detailed overview of key topics in those areas. We highlight and have embedded some of
               these videos below, but the full video library can be accessed here. Please note that, since Mr. Martin retired in 2018, the content
               of some of the videos may be out of date.
               Understanding Apportionments
                   Module 1—defines an apportionment, explains why we apportion, and lays out the basic rules of apportionment.
                   Module 2—covers the apportionment form, the Standard Form (SF) 132.
                   Module 3—examines the rest of the apportionment and the circumstances in which an apportionment is not necessary.
               Reading the SF133—breaks down the information provided on the SF 133, the report on budget execution and budgetary
               resources. Among other things, the SF 133 allows one to track the status of funds that have been apportioned—to see how an
               agency obligates funds once it is authorized by OMB to do so.

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               Reading Appropriations Language
                   Module 1—covers reading appropriations language in annual and supplemental appropriations.
                   Module 2—covers reading appropriations language in continuing appropriations (CRs).
                   Module 3—covers reading appropriations language in permanent appropriations.
               The Antideficiency Act: What You Need to Know—covers the content and history of the Antideficiency Act and why it is important.


               RELATED CONTENT

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                                                    Apportionment Decisions                                                              science and medical rese
                                                    DEFENDING THE RULE OF LAW   LITIGATION                                               DEFENDING THE RULE OF LAW
                                                     CASE DOCUMENTS                                                                       CASE DOCUMENTS




               RELEVANT EXPERTS




                   William Ford                                                       Cerin Lindgrensavage
                   Policy Advocate                                                    Counsel
                   STAFF                                                              STAFF




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